     Case: 14-31098   Document: 00513249210 Page: 1 Date Filed: 10/28/2015
     Case 2:11-cr-00095-SSV-MBN Document 305 Filed 10/30/15 Page 1 of 4




          IN THE UNITED STATES COURT OF APPEALS

                       FOR THE FIFTH CIRCUIT
                            _______________________
                                                                United States Court of Appeals
                                 No. 14-31098                            Fifth Circuit

                              Summary Calendar                         FILED
                            _______________________               October 6, 2015
                                                                   Lyle W. Cayce
                        D.C. Docket No. 2:11-CR-95-2                    Clerk


UNITED STATES OF AMERICA,

            Plaintiff - Appellee

v.                                            A True Copy
                                              Certified order issued Oct 28, 2015
EFRAIN GRIMALDO,
                                              Clerk, U.S. Court of Appeals, Fifth Circuit
            Defendant - Appellant

             Appeal from the United States District Court for the
                Eastern District of Louisiana, New Orleans

Before HIGGINBOTHAM, ELROD, and SOUTHWICK, Circuit Judges.

                               JUDGMENT

      This cause was considered on the record on appeal and the briefs on file.

      It is ordered and adjudged that the judgment of the District Court is
affirmed.
     Case: 14-31098   Document: 00513249211 Page: 1 Date Filed: 10/28/2015
     Case 2:11-cr-00095-SSV-MBN Document 305 Filed 10/30/15 Page 2 of 4




           IN THE UNITED STATES COURT OF APPEALS
                    FOR THE FIFTH CIRCUIT


                                    No. 14-31098
                                  Summary Calendar
                                                                         United States Court of Appeals
                                                                                  Fifth Circuit

                                                                                FILED
                                                                          October 6, 2015
UNITED STATES OF AMERICA,
                                                                           Lyle W. Cayce
                                                                                Clerk
                                                 Plaintiff-Appellee

v.

EFRAIN GRIMALDO,

                                                 Defendant-Appellant


                   Appeal from the United States District Court
                      for the Eastern District of Louisiana
                             USDC No. 2:11-CR-95-2


Before HIGGINBOTHAM, ELROD, and SOUTHWICK, Circuit Judges.
PER CURIAM: *
       A jury convicted Efrain Grimaldo of conspiracy to possess with intent to
distribute five kilograms or more of cocaine. He appeals his conviction, arguing
that the district court violated his Sixth Amendment right to counsel of his
choosing by denying George O. Jacobs’s motion to enroll as co-counsel.
Grimaldo argues that the Government failed to show a serious potential for
conflict based on Jacobs’s prior representation of two cooperating witnesses,



       * Pursuant to 5TH CIR. R. 47.5, the court has determined that this opinion should not
be published and is not precedent except under the limited circumstances set forth in 5TH
CIR. R. 47.5.4.
       Case: 14-31098   Document: 00513249211 Page: 2 Date Filed: 10/28/2015
       Case 2:11-cr-00095-SSV-MBN Document 305 Filed 10/30/15 Page 3 of 4

                                  No. 14-31098

Sabino Duarte and David Garza. See Wheat v. United States, 486 U.S. 153,
159, 164 (1988).
        Grimaldo limits his argument to Jacobs’s statements during the hearing
held pursuant to United States v. Garcia, 517 F.2d 272 (5th Cir. 1975),
abrogated on other grounds by Flanagan v. United States, 465 U.S. 259, 263 &
n.2 (1984); however, in later district court pleadings, those statements were
shown to be inaccurate, and this court may affirm on any basis in the record,
see United States v. Grosz, 76 F.3d 1318, 1324 n.6 (5th Cir. 1996). The entire
record shows that the district court did not abuse its discretion by denying the
motion to enroll. See United States v. Sanchez Guerrero, 546 F.3d 328, 332-33
(5th Cir. 2008).
        Grimaldo and Duarte were codefendants in the instant case; Duarte
pleaded guilty and testified against Grimaldo at trial.      Jacobs previously
represented Duarte throughout a state drug proceeding, including at trial, and
he was convicted. The instant case and Duarte’s prior state case were related.
Thus, Grimaldo has not shown that the district court erred by determining that
the Government had established a serious potential for conflict in connection
with Jacobs’s proposed representation of Grimaldo. See Wheat, 486 U.S. at
164.
        Because we find that the district court’s denial of the motion to enroll
was proper vis-à-vis Jacobs’s prior representation of Duarte, we need not
address Grimaldo’s arguments regarding Garza or the untimeliness of the
motion. See Grosz, 76 F.3d at 1324 n.6. Finally, Grimaldo’s argument that the
district court applied the incorrect legal standard is belied by the record; as
explained, the district court properly determined that there was a serious
potential for conflict based on Jacobs’s prior attorney-client relationship with
Duarte.
        The district court’s judgment is AFFIRMED.

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      Case: 14-31098   Document: 00513249213 Page: 1 Date Filed: 10/28/2015
      Case 2:11-cr-00095-SSV-MBN Document 305 Filed 10/30/15 Page 4 of 4




                    United States Court of Appeals
                                  FIFTH CIRCUIT
                               OFFICE OF THE CLERK
LYLE W. CAYCE                                                 TEL. 504-310-7700
CLERK                                                      600 S. MAESTRI PLACE
                                                          NEW ORLEANS, LA 70130



                             October 28, 2015


Mr. William W. Blevins
U.S. District Court, Eastern District of Louisiana
500 Poydras Street
Room C-151
New Orleans, LA 70130

       No. 14-31098     USA v. Efrain Grimaldo
                        USDC No. 2:11-CR-95-2


Dear Mr. Blevins,
Enclosed is a copy of the judgment issued as the mandate and a
copy of the court's opinion.


                                   Sincerely,
                                   LYLE W. CAYCE, Clerk

                                   By: _________________________
                                   Cindy M. Broadhead, Deputy Clerk
                                   504-310-7707
cc:
       Mr.   Kevin G. Boitmann
       Ms.   Diane Hollenshead Copes
       Mr.   John Francis Murphy
       Mr.   Peter Franklin Theis
